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  APT-320, LLC

                   IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

  ATOOI ALOHA, LLC, an Nevada           )   CIVIL NO. 16-00347 JMS RLP
  Limited Liability Company; CRAIG B.   )
  STANLEY, as Trustee for THE           )   CERTIFICATE OF SERVICE
  EDMON KELLER AND                      )
  CLEAVETTE MAE STANLEY                 )   [re: DEFENDANT APT-320, LLC’S
  FAMILY TRUST; CRAIG B.                )   RESPONSE TO PLAINTIFFS
  STANLEY, individually; MILLICENT      )   ATOOI ALOHA, LLC, CRAIG B.
  ANDRADE, individually,                )   STANLEY, AS TRUSTEE FOR
                                        )   THE EDMON KELLER AND
                    Plaintiffs,         )   CLEAVETTE MAE STANLEY
                                        )   FAMILY TRUST, CRAIG B.
        vs.                             )   STANLEY, AND MILLICENT
                                        )   ANDRADE’S FIRST WRITTEN
  ABNER GAURINO; AURORA                 )   INTERROGATORIES, DATED
  GAURINO; ABIGAIL GAURINO;             )   AUGUST 15, 2017]
  INVESTORS FUNDING                     )
  CORPORATION, as Trustee for an        )
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  unrecorded Loan Participation           )
  Agreement dated June 30, 2014; APT-     )
  320, LLC, a Hawaii Limited Liability    )
  Company; CRISTETA C. OWAN, an           )
  individual; ROMMEL GUZMAN;              )
  FIDELITY NATIONAL TITLE &               )
  ESCROW OF HAWAII and DOES 1-            )
  100 Inclusive,                          )
                                          )
                     Defendants.          )
                                          )

                           CERTIFICATE OF SERVICE

             I HEREBY CERTIFY that on the date indicated below, a copy of above-

 identified document will be served upon the following parties:

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                    Cleavette Mae Stanley Family Trust;
                    CRAIG B. STANLEY, Individually; and
                    MILLICENT ANDRADE, Individually

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             DATED: Honolulu, Hawaii; September 27, 2017.


                                      /s/ Charles A. Price
                                      CHARLES A. PRICE
                                      Attorney for Defendant
                                      APT-320




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